      Case 4:17-cv-00189-CRW-CFB Document 37 Filed 08/08/18 Page 1 of 1

                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                    ___________________

                                        No: 17-3741
                                    ___________________

              Stacy Van Gorp, on behalf of herself and all others similarly situated

                                                Plaintiff - Appellant

                                                  v.

                                        Commerce Bank

                                    Defendant - Appellee
______________________________________________________________________________

       Appeal from U.S. District Court for the Southern District of Iowa - Des Moines
                                  (4:17-cv-00189-CRW)
______________________________________________________________________________

                                         JUDGMENT

       Appellant's motion to dismiss the appeal is granted. The appeal is hereby dismissed in

accordance with the Federal Rules of Appellate Procedure 42(b).

       The Court's mandate shall issue forthwith.

                                                       August 08, 2018




Order Entered Under Rule 27A(a):
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




   Appellate Case: 17-3741        Page: 1        Date Filed: 08/08/2018 Entry ID: 4691708
